                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                August 15, 2019
                            UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

BRADY FULLER,                               §
                                            §
        Plaintiff,                          §
VS.                                         §   CIVIL ACTION NO. 3:18-CV-283
                                            §
CITY OF SANTA FE, TEXAS,                    §
                                            §
        Defendant.                          §

                     CONDITIONAL DISMISSAL ORDER

      The Court has been advised that a settlement has been reached between the parties.

Accordingly, it is hereby

      ORDERED that this case is DISMISSED WITHOUT PREJUDICE to

reinstatement of Plaintiff’s claims, unless any party represents in writing filed with the

Court on or before September 13, 2019, that the settlement could not be completely

documented.

      All pending motions are hereby DENIED, as moot.

      SIGNED at Galveston, Texas, this 15th day of August, 2019.


                                             ___________________________________
                                             George C. Hanks Jr.
                                             United States District Judge




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